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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


 DWAYNE R. TORRENCE, JR.,


 Plaintiff,                                             Civil Action No. SAG-20-1223
          v.
 BARTELS, M.D., et al.


 Defendants


                     JOINT MOTION TO MODIFY SCHEDULING ORDER

         Plaintiff Dwayne R. Torrence, Jr. and Defendants, by their undersigned counsel, jointly

move for an Order modifying the Court’s March 1, 2021 Scheduling Order.

         As grounds for this Motion, the parties state as follows:

         1.       The parties have met and conferred about the deadlines set out in the March 1,

2021 Scheduling Order.

         2.       At the same time, the parties discussed production of documents and the

procuring of expert witnesses.

         3.       Defendants are still in the process of responding to Plaintiff’s First Request for

Production of Documents that Plaintiff served on April 7, 2021.

         4.       Based on the parties’ discussion and on the above facts, the parties agree that an

extension of the current deadlines will allow the case to be best developed for presentation to the

Court.




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       5.       Specifically, the parties believe a two-month extension of the current deadlines

would be optimal. No party will be prejudiced by these modifications and there is no trial date

currently scheduled.

       6.       The parties jointly request that the Scheduling Order be modified as follows:

        August 20, 2021:                    Plaintiff’s Rule 26(a)(2) disclosures

        September 14, 2021:                 Defendants’ Rule 26(a)(2) disclosures

        October 1, 2021:                    Plaintiff’s rebuttal Rule 26(a)(2) disclosures

        October 8, 2021:                    Rule 26(e)(2) supplementation of disclosures and
                                            responses

        November 1, 2021:                   Discovery deadline; submission of status report

        November 8, 2021:                   Requests for admission

        December 3, 2021:                   Dispositive pretrial motions deadline


       A proposed Order to this effect is attached.




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Respectfully submitted,


 MARKS, O’NEILL, O’BRIEN,                         BAKER & McKENZIE LLP
 DOHERTY & KELLY, P.C.



                  /s/                                        /s/
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


DWAYNE R. TORRENCE, JR.,


Plaintiff,                                         Civil Action No. SAG-20-1223
        v.
BARTELS, M.D., et al.


Defendants


                                           ORDER

       Upon consideration of the parties’ Joint Motion to Modify the Scheduling Order, it is this

_____ day of _______ 2021, ORDERED that:

       1.       The Motion is GRANTED for good cause shown; and

       2.       The March 1, 2021 Scheduling Order is hereby amended as follows:

        August 20, 2021:                  Plaintiff’s Rule 26(a)(2) disclosures

        September 14, 2021:               Defendants’ Rule 26(a)(2) disclosures

        October 1, 2021:                  Plaintiff’s rebuttal Rule 26(a)(2) disclosures

        October 8, 2021:                  Rule 26(e)(2) supplementation of disclosures and
                                          responses

        November 1, 2021:                 Discovery deadline; submission of status report

        November 8, 2021:                 Requests for admission

        December 3, 2021:                 Dispositive pretrial motions deadline




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                                  ___________________________________
                                  Stephanie A. Gallagher
                                  Judge, United States District Court
                                  for the District of Maryland




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